Case 4:20-cr-00038-ALM-KPJ Document 6 Filed 02/12/20 Page 1 of 3 PageID #: 8




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 UNITED STATES OF AMERICA                   § SEALED

 v.                                         § Case No. 4:20CR 3$
                                            § iiicigc QZi&ryi-'
 LINDA DUNLAP (1)                           §
      a/k/a Skye                            §
                                            §
                                            §
                                            §
                                            §

                                       INDICTMENT

      THE UNITED STATES GRAND JURY CHARGES:

                                        COUNT ONE

                                                Violation: 21 U.S.C. § 846 (Conspiracy
                                                to Possess with Intent to Distribute
                                                Methamphetamine)

         That from sometime in or around December 2018, and continuously thereafter up

to in or around July 2019, in the Eastern District of Texas and elsewhere, Linda Dunlap,

                            an did knowingly and intentionally combine,

conspire, and agree with each other and other persons known and unknown to the United

States Grand Jury, to knowingly and intentionally possess with the intent to distribute a

substance or mixture containing a detectable amount of methamphetamine, in violation of

21 U.S.C. § 841(a)(1).

         In violation of 21 U.S.C. § 846.



Indictment
Page 1
Case 4:20-cr-00038-ALM-KPJ Document 6 Filed 02/12/20 Page 2 of 3 PageID #: 9




             NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE
         As a result of committing the offenses charged in this In ictment, the defendant

shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all property used to commit

or facilitate the offenses, proceeds from the offenses, and p operty derived from proceeds

obtained directly or indirectly from the offenses.


                                                     A TRUE BILL



                                                     GRAND JURY FOREPERSON

JOSEPH D. BROWN
UNITED STATES ATTORNEY



G.R. JACKSON Date
ANAND VARADARAJAN

Atto eys for the United States




Indictment
Page 2
Case 4:20-cr-00038-ALM-KPJ Document 6 Filed 02/12/20 Page 3 of 3 PageID #: 10




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 UNITED STATES OF AMERICA §                               SEALED
                                               §
 v.                             §                         Case No. 4:20CR
                                               §          Judge
 LINDA DUNLAP (1) §
    a/k/a Skye §




                                 NOTICE OF PENALTY
                                         Count One

Violation: 21 U.S.C. § 846

Penalty: Imprisonment for a te m of not more than 20 years, a fine not to exceed $ 1
               million, or both; and a term of supervised release of at least three years.

               If it is shown that the defendant committed such violation after a prior
               conviction for a felony drug offense has become final, not more than 30
               years, a fine not to exceed $2 million, or both; a te m of supervised release
               of at least 6 years.


 Special
Assessment: $100.00




Notice of Penalty
Page 1
